     Case 1:17-cr-00544-NGG Document 13 Filed 06/26/18 Page 1 of 5 PageID #: 45


                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
DCP/JPM/JPL/GMM                                   271 Cadman Plaza East
F. #2012R01716                                    Brooklyn, New York 11201



                                                  June 26, 2018


By Hand Delivery and ECF

Ronald G. White, Esq.
Morrison & Foerster LLP
250 West 55th Street
New York, NY 10019

Barry H. Berke, Esq.
Paul Schoeman, Esq.
Kramer Levin Naftalis & Frankel LLP
1177 Avenue Of The Americas
New York, NY 10036

                Re:    United States v. Michael Leslie Cohen
                       Criminal Docket No. 17-544 (NGG)

Dear Counsel:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure. The government also requests reciprocal
discovery from the defendant.

I.       The Government’s Discovery

         Enclosed please find:

         A.     Statements of the Defendant

                 Federal Bureau of Investigation (“FBI”) FD-302 Report of proffer
                  interview of the defendant on April 4, 2013, Bates numbered DOJ_ROI-
                  000001 through DOJ_ROI-000013;
                 FBI FD-302 Report of proffer interview of the defendant on May 30, 2013,
                  Bates numbered DOJ_ROI-000014 through DOJ_ROI-000027;
                 FBI FD-302 Report of statements made by the defendant to representatives
                  of Gibson Dunn & Crutcher LLP and Richards Kibbe & Orbe LLP on
 Case 1:17-cr-00544-NGG Document 13 Filed 06/26/18 Page 2 of 5 PageID #: 46



                February 5, 2011, October 31, 2011, and April 23, 2012, Bates numbered
                DOJ_ROI-000028 through DOJ_ROI-000044; and
               FBI FD-302 Report of statements made by Ronald White on behalf of the
                defendant on June 3, 2013, Bates numbered DOJ_ROI-000045 through
                DOJ_ROI-000046.

       B.     Documents and Tangible Objects

              Among other materials, the government anticipates providing to the defendant
all documents in its possession that were produced by Och-Ziff Capital Management Group
LLC (“Och-Ziff”) and for which the defendant was designated as the custodian. This
production includes the first set of such materials. Specifically, enclosed at the Bates range
DOJ_MC-0000000001 through DOJ_MC-0003557670 are 224,003 documents produced by
Och-Ziff to the government. The enclosed documents originally were given Bates
numbering by Och-Ziff that started with the prefix “OZC.” The documents enclosed in this
production are from the Och-Ziff Bates range of OZC11010804 and OZC19431417.

               At the time Och-Ziff provided the documents now designated DOJ_MC-
0000000001 through DOJ_MC-0003557670 to the government, it provided the following
descriptions for certain of the Bates ranges:

               OZC11010804 through OCZ12048266 (DOJ_MC-0000000001 through
                DOJ_MC-0001037453): non-privileged Bloomberg messages and SMS
                messages of Michael Cohen for time period January 2007 through June
                2008;
               OZC12048267 through OZC12221899 (DOJ_MC-0001037454 through
                DOJ_MC-0001097373): Documents regarding the Libyan Investment
                Authority (“LIA”) and Magna;
               OZC12221901 through OZC12230157 (DOJ_MC-0001097374 through
                DOJ_MC-0001097464): Document sets relating to Niger Mining Services;
               OZC12230158 through OZC12235281 (DOJ_MC-0001097465 through
                DOJ_MC-0001097836): Document sets relating to Camrose;
               OZC12235282 through OZC16936617 (DOJ_MC-0001097837 through
                DOJ_MC-0001097850): Documents responsive to then-outstanding
                government or U.S. Securities Exchange Commission (“SEC”) requests;
               OZC16936618 through OZC16937081 (DOJ_MC-0001097851 through
                DOJ_MC-0001098313): Bloomberg messages sent and received by Michael
                Cohen;
               OZC16947575 through OZC19225924 (DOJ_MC-0001098341 through
                DOJ_MC-0003373647): Email, Bloomberg, and SMS messages of Michael
                Cohen from January 2007 to June 2008 that had been initially segregated as
                presumptively privileged;
               OZC19225925 through OZC19316455 (DOJ_MC-0003373648 through
                DOJ_MC-0003443237): Documents responsive to specific government and
                SEC requests;
                                            2
 Case 1:17-cr-00544-NGG Document 13 Filed 06/26/18 Page 3 of 5 PageID #: 47



               OZC19316456 through OZC19349691 (DOJ_MC-0003443238 through
                DOJ_MC-0003475945): Documents related to Michael Cohen and Libya that
                had been initially coded as privileged or produced in redacted form;
               OZC19349692 through OZC19349693 (DOJ_MC-0003475946 through
                DOJ_MC-0003475947): Documents responsive to specific government and
                SEC requests; and
               OZC19349694 through OZC19469129 (DOJ_MC-0003475948 through
                DOJ_MC-0003557670): Michael Cohen communications responsive to DOJ
                search terms.

              You may examine the physical evidence discoverable under Rule 16,
including original documents, by calling me to arrange a mutually convenient time.

       C.     Reports of Examinations and Tests

             The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       D.     Expert Witnesses

                The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R.
Evid. 702, 703 and 705 and notify you in a timely fashion of any expert that the government
intends to call at trial and provide you with a summary of the expert’s opinion.

              The identity, qualifications, and bases for the conclusions of each expert will
be provided to you when they become available.

       E.     Brady Material

             The government is not aware of any exculpatory material regarding the
defendant. The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500, as well as impeachment materials. See Giglio v.
United States, 405 U.S. 150 (1972).

       F.     Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance
of trial if it intends to offer any material under Fed. R. Evid. 404(b).




                                               3
  Case 1:17-cr-00544-NGG Document 13 Filed 06/26/18 Page 4 of 5 PageID #: 48



II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes,
tangible objects, or copies or portions thereof, that are in the defendant’s possession, custody
or control, and that the defendant intends to introduce as evidence or otherwise rely on at
trial, and (2) any results or reports of physical or mental examinations and of scientific tests
or experiments made in connection with this case, or copies thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order
to avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of
trial.

               The government also requests that the defendant disclose a written summary
of testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and
705 of the Federal Rules of Evidence. The summary should describe the opinions of the
witnesses, the bases and reasons for the opinions, and the qualification of the witnesses.

               Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendant’s intention, if any, to claim a defense of actual or believed exercise of
public authority, and also demands the names and addresses of the witnesses upon whom the
defendant intends to rely in establishing the defense identified in any such notice.

III.   Future Discussions

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.




                                                4
 Case 1:17-cr-00544-NGG Document 13 Filed 06/26/18 Page 5 of 5 PageID #: 49



               Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                            By:     /s/ James P. McDonald
                                                   James P. McDonald
                                                   Assistant U.S. Attorney
                                                   (718) 254-6376

Enclosures

cc:    Clerk of the Court (NGG) (by ECF) (without enclosures)




                                               5
